Case 2:04-Cr-20l71-BBD Document 28 Filed 07/12/05 Page 1 of 2 Page|D 23

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IN THE UNITED STATES DISTRICT coURT FILE BY .
FOR THE wESTERN DISTRICT OF TENNESSEE _
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wESTERN DIVISION 05 JUL \2 P“ 5 3d
UNITED STATES OF AMERICA, * CLE%UO§ WSNCTM
* :!'~:
Plaintiff, *
* cr. No. 04~20171-0
vS. *
'k
TIFFANY LEMONS, *
~k
Defendant. *

 

ORDER DISMISSING INDICTMENT

 

Upon motion of the United States, it is hereby ORDERED that
the indictment in Criminal Case NO. 04-20171 is dismissed.

ENTERED this 30 day of June, 2005.

   

ONALD f

U.S. District Court Judge

 

Approved:

/ /.0 0 ///,¢1_
V. §ae Uiiver
Assistant United States Attorney

 
 
 

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UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNESSEE

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Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

